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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )     Case No. 4:06CR3023
                              Plaintiff,         )
                                                 )
v.                                               )
                                                 )            ORDER
SHAWN TULL,                                      )
                                                 )
                              Defendant.         )

       THIS MATTER comes before the Court on defendant's Motion to Withdraw, filing

87. The Court, being fully advised in the premises, finds that said Motion should be

granted.

       IT IS THEREFORE ORDERED that Assistant Federal Public Defender Michael J.

Hansen and the Federal Public Defender’s office shall be permitted to withdraw as counsel

of record for Mr. Tull. On November 20, 2006, Carlos Monzon entered his appearance in

filing 85.   The Clerk is directed to remove Mr.         Hansen    from all future ECF

notifications in this case.

       Dated this 21st day of November, 2006.

                                                 BY THE COURT:
                                                 s/ Richard G. Kopf
                                                 United States District Judge
